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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

 JOSE FRANCISCO SALVADOR ET AL               CIVIL ACTION NO. 6:19-CV-01570

 VERSUS                                      Judge Michael J. Juneau

 CASHMAN EQUIPMENT CORP ET AL                Magistrate Judge Carol B. Whitehurst

                                    MINUTE ENTRY
       In light of the request of the parties for an additional (30) thirty days to file a

 joint stipulation to stay this matter and litigate the corresponding case styled Jose

 Francisco Salvador Salvador v. Cashman Equipment Corp.) CHM Maritime Sapi De

 C. Vand Servicio Marina Superior) LLC, 16th JDC, Parish of St. Mary, State of

 Louisiana, 131070-B in Louisiana state court pursuant to the Louisiana Direct Action

 Statute, Rec. Doc. [20], the Court requests said stipulation be filed into the record

 by April 30, 2021.




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                                                MICHAEL J. JUNEAU
                                                UNITED STATES DISTRICT JUDGE
